Case 1:17-cv-01011-JPW-SES         Document 19   Filed 08/23/17   Page 1 of 36




            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


JUSAMUEL RODRIGUEZ
MCCREARY, RICHARD C.
ANAMANYA, and JOSEPH R.
COPPOLA, each individually and on
behalf of all others similarly situated,
                                             Case No. 1:17-CV-01011
                    PLAINTIFFS,

          v.
THE FEDERAL BUREAU OF
PRISONS, THOMAS R. KANE,
DAVID J. EBBERT,

                    DEFENDANTS.



               BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION
                     FOR CLASS CERTIFICATION
       Case 1:17-cv-01011-JPW-SES                    Document 19             Filed 08/23/17           Page 2 of 36




                                         TABLE OF CONTENTS
                                                                                                                      Page


I.       INTRODUCTION ...........................................................................................1

II.      FACTUAL BACKGROUND.......................................................................... 1
III.     ARGUMENT ...................................................................................................9
         A.       THE PROPOSED CLASS DEFINITION IS READILY
                  DISCERNIBLE AND CLEAR. ..........................................................11

         B.       THE CLASS SATISFIES THE PREREQUISITES OF RULE
                  23(a).....................................................................................................13

                  i.       The proposed class is so numerous that joinder is
                           impracticable. ............................................................................13

                  ii.      The constitutional challenges to USP Lewisburg’s
                           policies and practices present common questions of law
                           and fact. .....................................................................................15

                  iii.     Plaintiffs’ claims are typical of the class. .................................19

                  iv.      The Plaintiffs and their attorneys will fairly and
                           adequately protect the interests of the class. .............................21
         C.       PLAINTIFFS’ CHALLENGE TO DEFENDANTS’ POLICY
                  OR PRACTICE SATISFIES RULE 23(b)(2). ....................................25

IV.      CONCLUSION..............................................................................................27




                                                             i
     Case 1:17-cv-01011-JPW-SES                      Document 19             Filed 08/23/17          Page 3 of 36




                                       TABLE OF AUTHORITIES

                                                                                                                 Page(s)

                                                        CASES
Baby Neal for & by Kanter v. Casey,
  43 F.3d 48 (3d Cir. 1994) ............................................................................passim

Barnes v. Am. Tobacco Co.,
  161 F.3d 127 (3d Cir. 1998) ...............................................................................20

Beck v. Maximus, Inc.,
   457 F.3d 291 (3d. Cir. 2006) ..............................................................................21

Bowers v. City of Phila.,
  Civ. No. 06-CV-3229, 2006 WL 2818501 (E.D. Pa. Sept. 28,
  2006) ...................................................................................................................12
In re Chiang,
    385 F.3d 256 (3d Cir. 2004) ...............................................................................16
Clarke v. Lane,
   267 F.R.D. 180 (E.D. Pa. 2010)..............................................................17, 21, 28
In re Cmty. Bank of N. Va.,
    622 F.3d 275 (3d Cir. 2010) ...............................................................................11

Coley v. Clinton,
  635 F.2d 1364 (8th Cir. 1980) ............................................................................10
Death Row Prisoners of Pa. v. Ridge,
  169 F.R.D. 618 (E.D. Pa. 1996)..........................................................................28
Grant v. Sullivan,
  131 F.R.D. 436 (M.D. Pa. 1990) ........................................................................14

Hagan v. Rogers,
  570 F.3d 146 (3d Cir. 2009) ...............................................................................17

Harris v. Pernsley,
  654 F. Supp. 1042 (E.D. Pa. 1987) .....................................................................12


                                                             ii
    Case 1:17-cv-01011-JPW-SES                      Document 19            Filed 08/23/17          Page 4 of 36




Hassine v. Jeffes,
  846 F.2d 169 (3d Cir. 1988) .........................................................................10, 16

Inmates of Lycoming Cty. Prison v. Strode,
   79 F.R.D. 228 (M.D. Pa. 1978) ..........................................................................15

Inmates of the Northumberland Cty. Prison v. Reish,
   No. 08-cv-345, 2009 U.S. Dist. LEXIS 126479 (M.D. Pa. Mar. 17,
   2009) .......................................................................................................14, 17, 23
Wachtel ex rel. Jeffe v. Guardian Life Ins. Co. of Am.,
  453 F.3d 179 (3d Cir. 2006) ...............................................................................12
Johnston v. HBO Film Mgmt, Inc.,
   265 F.3d 178 (3d Cir. 2001) ...............................................................................21
Lanning v. Se. Pa. Transp. Auth.,
  176 F.R.D. 132 (E.D. Pa. 1997)..........................................................................15
Lerch v. Citizens First Bancorp, Inc.,
   144 F.R.D. 247 (D.N.J. 1992).............................................................................13

Manning v. Princeton Consumer Discount Co.,
  390 F. Supp. 320 (E.D. Pa. 1975) .......................................................................14

In re Monumental Life Ins. Co.,
    365 F.3d 408 (5th Cir. 2004) ..............................................................................12
New Directions Treatment Servs. v. City of Reading,
  490 F.3d 293 (3d Cir. 2007) ...............................................................................23

Newton v. Merrill Lynch, Pierce, Fenner & Smith, Inc.,
  259 F.3d 154 (3d Cir. 2001) .........................................................................20, 21

Pabon v. McIntosh,
  546 F. Supp. 1328 (E.D. Pa. 1982) .....................................................................14

Santiago v. City of Phila.,
   72 F.R.D. 619 (E.D. Pa. 1976)......................................................................13, 28
Shelton v. Bledsoe,
   775 F.3d 554 (3d Cir. 2015) ........................................................................passim


                                                           iii
    Case 1:17-cv-01011-JPW-SES                     Document 19            Filed 08/23/17         Page 5 of 36




Stewart v. Abraham,
   275 F.3d 220 (3d Cir. 2001) ...................................................................14, 15, 20

Sullivan v. DB Invs., Inc.,
   667 F.3d 273 (3d Cir. 2011) .........................................................................10. 11

Wal-Mart Stores, Inc. v. Dukes,
  564 U.S. 338 (2011) ..........................................................................10, 11, 19, 28

Weiss v. York Hosp.,
  745 F.2d 786 (3d Cir. 1984) .........................................................................14, 27

Williams v. City of Phila.,
   270 F.R.D. 208 (E.D. Pa. 2010)..............................................................12, 14, 23



                                                     RULES
Fed. R. Civ. P. 23 ...............................................................................................26, 27
Fed. R. Civ. P. 23(a)..........................................................................................passim
Fed. R. Civ. P. 23(b) .........................................................................................passim

Fed. R. Civ. P. 23(c)(1)(B) ......................................................................................24
Fed. R. Civ. P. 23(g) ................................................................................................24



                               CONSTITUTIONAL PROVISIONS
U.S. Const., amendment VIII.................................................................................1, 9



                                        OTHER AUTHORITIES
Advisory Committee’s Notes to Proposed Rules of Civil Procedure, 39
  F.R.D. 69 (1966) .................................................................................................28
Federal Bureau of Prisons Program Statement P6340.04,
   “Psychiatric Services” (Jan. 15, 2005) .............................................................6, 7

                                                          iv
     Case 1:17-cv-01011-JPW-SES                      Document 19             Filed 08/23/17          Page 6 of 36




Federal Bureau of Prisons Program Statement 5310.16,
   “Treatment and Care of Inmates with Mental Illness” (May 1,
   2014) .............................................................................................................3, 6, 9
Federal Bureau of Prisons Program Statement P5217.02,
   “Special Management Units” (Aug. 9, 2016) ...............................................2, 3, 8
Federal Bureau of Prisons Program Statement P5310.17,
   “Psychology Services Manual” (Aug. 25, 2016).................................................. 4




                                                             v
      Case 1:17-cv-01011-JPW-SES    Document 19     Filed 08/23/17   Page 7 of 36




I.      INTRODUCTION
        In this civil rights action, Plaintiffs Jusamuel Rodriguez McCreary, Richard

C. Anamanya, and Joseph R. Coppola assert constitutional claims against

Defendants, the Federal Bureau of Prisons, Thomas R. Kane, and David J. Ebbert,

to remedy the inadequate and unconstitutional treatment of prisoners within the

Special Management Unit (“SMU”) at the United States Penitentiary at Lewisburg

(“USP Lewisburg”) who suffer from mental illness. Plaintiffs seek (1) injunctive

relief under the Eighth Amendment to the United States Constitution directing

Defendants to stop the constitutional violations described in the Complaint and to

ensure that prisoners housed in the SMU at USP Lewisburg receive

constitutionally adequate mental health care, (2) a declaration that Defendants have

violated Plaintiffs’ constitutional rights, and (3) reasonable attorneys’ fees,

litigation expenses, and costs.     Because Defendants’ policies, practices, and

procedures relating to the mental health care provided to SMU prisoners are

systematic practices at USP Lewisburg, Plaintiffs also seek to represent a class of

all SMU prisoners suffering from mental illness who are currently or in the future

will be incarcerated at USP Lewisburg.

II.     FACTUAL BACKGROUND
        Plaintiffs alleged in their Complaint that the Bureau of Prisons (“BOP”)

“created the SMU program to house men determined to have unique security and


                                          1
   Case 1:17-cv-01011-JPW-SES       Document 19      Filed 08/23/17   Page 8 of 36




management concerns.” Compl. at ¶ 22. Conditions of confinement in the SMU

are more restrictive than for those in a general population environment in a high

security penitentiary. Id. According to BOP policies, the SMU is a multi-level

program whose mission is to teach self-discipline, pro-social values, and the ability

to coexist with members of other cultural, geographical and religious backgrounds.

Id. at ¶ 24. The BOP may designate to an SMU any individual whose interaction

with others requires “greater management” than for those in a general population

environment to ensure the safety, security, or orderly operation of BOP facilities,

or the protection of the public, if the prisoner meets any of a number of specified

criteria. See id. at ¶ 25.

       The SMU program has three levels and a 12-month timeframe for

completion.    Id. at ¶ 27.   Each of the SMU program levels has an expected

timeframe for completion: under Bureau of Prisons Program Statement P5217.02,

“Special Management Units,” (Aug. 9, 2016), the expected timeframe is six to

eight months from Level 1, two to three months for Level 2, and one to two

months for Level 3. Compl. at ¶ 28. However, prisoners can remain at any given

level for significantly longer than the expected completion time if the BOP finds

that they are not ready to progress to the next level. Id. Because progression from

one level to the next grants the prisoners greater relative freedom, the time it takes

to progress between levels may drastically affect prisoners’ time in segregation and

                                          2
   Case 1:17-cv-01011-JPW-SES        Document 19     Filed 08/23/17   Page 9 of 36




their access to recreation and social interaction outside of their cells. For example,

prisoners at Level 1 and Level 2 remain in their cells for 23 hours a day, id. at ¶ 31,

while prisoners at Level 3 begin to interact in a supervised open setting with

individuals from various groups and receive increased privileges. See Program

Statement P5217.02, “Special Management Units,” pp. 9–12 (Aug. 9, 2016).

Additionally, prisoners who receive disciplinary violations can be sent back to

Level 1, where they must begin the program over again. Under Program Statement

P5217.02, prisoners can be cycled through the program for up to 24 months before

being designated with “SMU FAIL” status. Compl. at ¶ 29.

      The BOP fails to adhere to its own policies regarding the evaluation and

treatment of mentally ill prisoners. The BOP’s written procedures for transferring

individuals to SMUs, including USP Lewisburg, state that “inmates referred for

extended placement in restrictive housing (i.e., SMU) must be reviewed by

Psychology Services staff to determine if mental health issues exist that preclude

placement in this setting.” Federal Bureau of Prisons Program Statement 5310.16,

“Treatment and Care of Inmates with Mental Illness,” p. 16 (May 1, 2014). BOP

policies also require intake screening for all men entering a BOP institution.

Compl. at ¶ 58. With respect to this general initial and transfer intake screening,

BOP policy requires a Health Services screening within 24 hours of arrival at a

facility. Id. The BOP instructs Health Services staff to “interview[] and observe

                                          3
  Case 1:17-cv-01011-JPW-SES        Document 19      Filed 08/23/17   Page 10 of 36




[prisoners] for indicators of mental illness.” Federal Bureau of Prisons Program

Statement P5310.17, “Psychology Services Manual,” p. 14 (Aug. 25, 2016). If

staff members observe any mental health concerns, they must refer the person to

Psychology Services for prompt evaluation by a psychologist.           Id.     For men

assigned to restrictive housing, including the SMU, BOP policy mandates an

“initial psychological review . . . on or before the 30th calendar day of consecutive

confinement in restrictive housing.” Id. at p. 17.

      Despite these policies, the BOP routinely places men suffering from serious

mental illness in the SMU at USP Lewisburg, ignoring previous diagnoses of

serious mental illness and failing to conduct the required psychological screenings.

Compl. at ¶ 60. Incoming prisoners do not receive the psychological evaluations

required by BOP’s policies. Id. at ¶ 61. Instead, upon arrival to USP Lewisburg,

the prisoners receive a brief intake evaluation, lasting approximately ten minutes,

with a member of USP Lewisburg’s general medical staff who does not specialize

in psychology or psychiatry and who does not administer an evaluation that

conforms with contemporary community standards used by mental health

professionals to evaluate and diagnose patients with mental illnesses. Id. These

perfunctory interviews are wholly inadequate as a form of diagnosis of mental

illness or screening for suitability for confinement at an SMU facility. Id.



                                          4
  Case 1:17-cv-01011-JPW-SES        Document 19     Filed 08/23/17   Page 11 of 36




      Additionally, the mental health staffing at USP Lewisburg is not adequate to

meet the expectations set forth in BOP policies. According to BOP policies, all

BOP institutions, regardless of custody level, are expected to provide services for

men with mental illness, and Psychology Services and Health Services departments

are supposed to ensure every individual with a clinically identified need for

psychological treatment has access to mental health care. Id. at ¶ 62. At the time

this action was filed, there were only five or fewer psychologists on staff at USP

Lewisburg, and they were responsible for the mental health of all of the

approximately 1,089 prisoners at USP Lewisburg. Id. at ¶ 63. Men experiencing

mental health emergencies (e.g., suicidal thoughts, psychosis) are directed to

inform any USP Lewisburg staff member that they need to speak with psychology

staff. However, the men report rarely, if ever, having the opportunity to speak in

private with a staff psychologist. Id. Additionally, there is no psychiatrist on staff

at USP Lewisburg. Id. at ¶ 65. In the event of complex mental health and

psychiatric medication needs, USP Lewisburg is supposed to rely on the “Tele-

health program” (also commonly called “tele-psych”), which utilizes an

audiovisual interface to connect prisoners at USP Lewisburg with a consulting

psychiatrist located at the United States Medical Center for Federal Prisoners

(“USMCFP”) in Springfield, Missouri. Id. However, prisoners report never being

offered the opportunity to speak with a psychiatrist via the tele-psych. Instead,

                                          5
    Case 1:17-cv-01011-JPW-SES     Document 19     Filed 08/23/17   Page 12 of 36




they are provided with word puzzles and coloring book exercises as “treatment”

for their conditions. Id.

       Moreover, prisoners at USP Lewisburg are not provided with even the

minimal amount of mental health treatment envisioned by BOP policies. 1 For

prisoners with mental illness in restrictive housing such as the SMU program, the

BOP’s policies require, “at a minimum, face-to-face mental health contacts

consistent with the type and frequency indicated by the [individual’s] care level, to

the extent feasible. These contacts take place in a manner that protects an inmate’s

privacy,” including removal of SMU prisoners from their cells for private or

extended interviews. Compl. at ¶ 71; see also Program Statement 5310.16, pp. 15–

16. Nonetheless, private, face-to-face mental health encounters do not occur at

USP Lewisburg. Compl. at ¶ 71.

       The BOP also requires psychology staff to review the psychological status of

SMU prisoners every thirty days. Compl. at ¶ 72. Inmates at USP Lewisburg

report that these reviews do not occur. Id. All BOP institutions are required to


1
  See, e.g., Federal Bureau of Prisons Program Statement P6340.04, “Psychiatric
Services,” p. 1 (Jan. 15, 2005) (outlining BOP’s commitment and approach to
providing “essential, cost-effective, high-quality, and humane diagnostic and
treatment services throughout . . . inmates’ incarceration”); Program Statement
5310.16, “Treatment and Care of Inmates with Mental Illness,” p. 2 (May 1, 2014)
(stating a purpose “to ensure that inmates with mental illness are identified and
receive treatment to assist their progress toward recovery, while reducing or
eliminating the frequency and severity of symptoms and associated negative
outcomes of mental illness”).
                                        6
  Case 1:17-cv-01011-JPW-SES        Document 19     Filed 08/23/17   Page 13 of 36




provide psychiatry services. Id. at ¶ 73; see also Program Statement P6340.04,

“Psychiatric Services,” pp. 6–7 (Jan. 15, 2005). These required services include

“[r]isk assessment for acts of self-harm or harm towards others”; “[m]ental health

screening of inmates suffering from symptoms or behavioral disturbances

indicative of possible mental illnesses or disorders”; “[d]iagnosis and treatment of

mild to moderate mental illnesses such as non-psychotic major depression, anxiety

disorders, or sleep disorders”; “[c]ontinuation of psychiatric treatment initiated at

other institutions or prior to incarceration”; and “[m]onitoring of inmates on

psychiatric medications for side-effects and drug interactions,” among other

services. Program Statement P6340.04, p. 7. However, despite these policies

concerning the development of treatment plans and delivery of mental health

services, the BOP has failed to develop meaningful treatment plans for prisoners at

USP Lewisburg who have chronic and obvious mental illness, and has failed to

establish a reliable mechanism for delivering elementary mental health services,

such as screening for mental illness, access to psychiatry services, mental health

medication, timely access to crisis counseling, and counseling in both individual

and group settings that is delivered in a consistent fashion. Compl. at ¶ 75.

      The BOP is failing to adhere to its own policies by continuing to house

mentally ill individuals at USP Lewisburg. The BOP’s August 9, 2016 Program

Statement on Special Management Units states that an individual may be removed

                                          7
  Case 1:17-cv-01011-JPW-SES        Document 19   Filed 08/23/17   Page 14 of 36




from the SMU program if it becomes clear that his mental health does not

reasonably allow him to complete the program. Id. at ¶ 88; see also Program

Statement P5217.02, p. 2. However, prisoners with mental illness and serious

mental illness held at USP Lewisburg are sometimes confined in the SMU at USP

Lewisburg for months or years without mental health treatment, with predictably

devastating results. Id. at ¶ 89. These conditions exacerbate their mental illness,

making them increasingly dangerous to themselves and others. Id.

      Three named Plaintiffs have raised class action claims on behalf of all

persons who were, as of the filing date of the Complaint (June 9, 2017), or are

now, or will be in the future, confined to the custody of the United States Bureau

of Prisons in the United States Penitentiary Lewisburg and who suffer from a

Serious Mental Illness or a Mental Illness requiring treatment under one or more of

the BOP’s CARE levels as set forth in Program Statement 5310.16 (May 1, 2014).

At the time this action was filed, Plaintiffs Jusamuel McCreary, Richard

Anamanya, and Joseph Coppola were incarcerated at USP Lewisburg and were

receiving constitutionally deficient mental health care at USP Lewisburg. Compl.

at ¶¶ 18, 101–62. Plaintiffs have alleged that the violation of the rights of class

members were caused by policies and practices of the Defendants that are common

to the class as a whole. Id. at ¶¶ 163–66.



                                             8
   Case 1:17-cv-01011-JPW-SES       Document 19     Filed 08/23/17   Page 15 of 36




III.   ARGUMENT
       Class certification is appropriate here to resolve the class’s Eighth

Amendment claims against Defendants for declaratory and injunctive relief

requiring the BOP to comply with its policies regarding the treatment of

individuals with mental illness and to provide mental health diagnoses and

treatment consistent with the requirements of the Eighth Amendment for

individuals who have been committed to the BOP’s custody.

       Federal Rule of Civil Procedure 23(b)(2) was largely crafted to facilitate

cases pursuing injunctive relief on behalf of a group of individuals against a

general course of conduct. Baby Neal for & by Kanter v. Casey, 43 F.3d 48, 59

(3d Cir. 1994) (“In fact, the injunctive class provision was designed specifically for

civil rights cases seeking broad declaratory or injunctive relief for a numerous and

often unascertainable or amorphous class of persons.”) (quotations omitted); see

also Shelton v. Bledsoe, 775 F.3d 554, 561 (3d Cir. 2015) (“[T]he key to the (b)(2)

class is the ‘indivisible nature of the injunctive or declaratory remedy warranted—

the notion that the conduct is such that it can be enjoined or declared unlawful only

as to all of the class members or as to none of them.’” (quoting Wal-Mart Stores,

Inc. v. Dukes, 564 U.S. 338, 360 (2011))). The “proper role” of a Rule 23(b)(2)

class action is to “remedy[] systemic violations of basic rights of large and often

amorphous classes,” Baby Neal, 43 F.3d at 64, and a (b)(2) class is “an especially

                                          9
  Case 1:17-cv-01011-JPW-SES         Document 19      Filed 08/23/17    Page 16 of 36




appropriate vehicle for civil rights actions seeking . . . declaratory relief for prison .

. . reform.” Hassine v. Jeffes, 846 F.2d 169, 178 n.5 (3d Cir. 1988) (quoting Coley

v. Clinton, 635 F.2d 1364, 1378 (8th Cir. 1980)).

      To obtain class certification, a plaintiff must establish, by a preponderance

of the evidence, that the putative class satisfies all the prerequisites of Rule 23(a)

and complies with Rule 23(b)(2)’s requirement that final injunctive or declaratory

relief is appropriate with respect to the class as a whole. See Shelton, 775 F.3d at

563; Sullivan v. DB Invs., Inc., 667 F.3d 273, 296 (3d Cir. 2011) (en banc). Under

Rule 23(a), a plaintiff must demonstrate that:

      (1)    the class is “so numerous that joinder of all members is
             impracticable”;

      (2)    there are “questions of law or fact common to the class”;
      (3)    “the claims or defenses of the representative parties are typical of the
             claims or defenses of the class”; and

      (4)    the representative parties will “fairly and adequately protect the
             interests of the class.”

Fed. R. Civ. P. 23(a); In re Cmty. Bank of N. Va., 622 F.3d 275, 291 (3d Cir.

2010). Under Rule 23(b)(2), Plaintiff must show that “the party opposing the class

has acted or refused to act on grounds generally applicable to the class, thereby

making appropriate final injunctive relief or corresponding declaratory relief with

respect to the class as a whole.” Fed. R. Civ. P. 23(b)(2); Sullivan, 667 F.3d at

296. To make this showing, the class must demonstrate that “a single injunction or

                                           10
  Case 1:17-cv-01011-JPW-SES         Document 19     Filed 08/23/17      Page 17 of 36




declaratory judgment would provide relief to each member of the class.” Wal-

Mart Stores, 564 U.S. at 362. Here, because the proposed class satisfies the

criteria of Rule 23(a) and 23(b)(2), class certification is warranted.

      A.     THE PROPOSED CLASS DEFINITION IS READILY
             DISCERNIBLE AND CLEAR.
      The proposed class of “all current and future SMU prisoners with a Mental

Illness or Serious Mental Illness at USP Lewisburg” is objective, clear, and readily

discernible. The Third Circuit has noted that “[a] precise class definition is not as

critical where certification of a class for injunctive or declaratory relief is sought

under [R]ule 23(b)(2).” Shelton, 775 F.3d at 562 (quoting In re Monumental Life

Ins. Co., 365 F.3d 408, 413 (5th Cir. 2004)). Rather, a 23(b)(2) class seeking only

injunctive or declaratory relief, such as the putative class, need only be defined by

a “readily discernible, clear, and precise statement of the parameters.” Id. at 563

(quoting Wachtel ex rel. Jeffe v. Guardian Life Ins. Co. of Am., 453 F.3d 179, 187

(3d Cir. 2006)). Courts in this circuit have frequently certified similar classes of

current and future prisoners. See, e.g., Williams v. City of Phila., 270 F.R.D. 208,

213–14 (E.D. Pa. 2010) (certifying a class consisting of “[a]ll persons who are or

will in the future be confined in the Philadelphia Prison System, and who are or

will in the future be subjected to the conditions of confinement, including triple

celling, or placement in dormitories, without minimally adequate security, services

or programs as set forth in plaintiffs’ Complaint”); Bowers v. City of Phila., Civ.
                                          11
  Case 1:17-cv-01011-JPW-SES       Document 19     Filed 08/23/17   Page 18 of 36




No. 06-CV-3229, 2006 WL 2818501, at *8 (E.D. Pa. Sept. 28, 2006) (certifying a

class consisting of “[a]ll persons who have been or will in the future be held post-

preliminary arraignment in the custody of the Philadelphia Police Department,

including its districts or the Police Administration Building, or anywhere in the

Philadelphia Prison System, pending intake/admissions processing, at the

Philadelphia Prison System, who have been or will in the future be subjected to the

conditions of confinement as set forth in Plaintiffs’ Complaint”); Harris v.

Pernsley, 654 F. Supp. 1042, 1045 (E.D. Pa. 1987) (approving settlement that

required certification of a class consisting of “all individuals who are, or who have

been inmates of the Philadelphia prison system since April 30, 1980 and all future

inmates of the Philadelphia prison system during the time the court retains

jurisdiction over the case”). Here, Plaintiffs’ proposed class definition of “all

current and future SMU prisoners with a Mental Illness or Serious Mental Illness at

USP Lewisburg” is objective, clear, and readily discernible, as the parameters for

class membership are simple and easily verified by reviewing the prisoners’ BOP

records. See Shelton, 775 F.3d at 563.




                                         12
  Case 1:17-cv-01011-JPW-SES        Document 19     Filed 08/23/17   Page 19 of 36




      B.     THE CLASS SATISFIES THE PREREQUISITES OF RULE
             23(a)

             i.    The proposed class is so numerous that joinder is
                   impracticable.
      Rule 23(a)(1) requires that the class be “so numerous that joinder of all

members is impracticable.” Fed. R. Civ. P. 23(a)(1). “Impracticability does not

mean impossibility, but rather that the difficulty or inconvenience of joining all

members of the class calls for class certification.” Lerch v. Citizens First Bancorp,

Inc., 144 F.R.D. 247, 250 (D.N.J. 1992). “The numerosity prerequisite is satisfied

as long as the class representatives can show impracticability of joinder, even if the

exact size of the class is unknown.” Santiago v. City of Phila., 72 F.R.D. 619, 624

(E.D. Pa. 1976).

      Courts do not rigidly apply the numerosity requirement in civil rights cases

seeking injunctive or declaratory relief, as the requested relief would typically

extend to the entire class even if the case was brought as an individual suit. Weiss

v. York Hosp., 745 F.2d 786, 808 (3d Cir. 1984). A court “may certify a class even

if it is composed of as few as 14 members.” Grant v. Sullivan, 131 F.R.D. 436,

446 (M.D. Pa. 1990) (citing Manning v. Princeton Consumer Discount Co., 390 F.

Supp. 320, 324 (E.D. Pa. 1975) (finding a class of 15 satisfied numerosity)); see

also Stewart v. Abraham, 275 F.3d 220, 226–27 (3d Cir. 2001) (“[G]enerally if the

named plaintiff demonstrates that the potential number of plaintiffs exceeds 40, the


                                         13
  Case 1:17-cv-01011-JPW-SES       Document 19     Filed 08/23/17   Page 20 of 36




first prong of Rule 23(a) has been met.”); Williams v. City of Phila., 270 F.R.D. at

214–15 (“No minimum number of plaintiffs is required, but courts in this circuit

have generally found that a class of 40 or more plaintiffs satisfies the numerosity

requirement.”); Inmates of the Northumberland Cty. Prison v. Reish, No. 08-cv-

345, 2009 U.S. Dist. LEXIS 126479, at *56 (M.D. Pa. Mar. 17, 2009) (“Even if

this problem plagued only 10% of the prison population, 18–21 inmates would be

affected, a number which surpasses the threshold for joinder.”); Pabon v.

McIntosh, 546 F. Supp. 1328, 1333 (E.D. Pa. 1982) (finding joinder of 30 to 40

inmates would be impractical); Inmates of Lycoming Cty. Prison v. Strode, 79

F.R.D. 228, 232 (M.D. Pa. 1978) (“[A]lthough the population of the prison seems

to only average somewhere around 40 or 50 at any particular moment . . . joinder is

impractical here and the size of the class is quite large because we are concerned

with future inmates.”).

      According to this precedent, the numerosity prerequisite is clearly satisfied

here. The precise size of the class is known only to the Defendants; however,

Plaintiffs allege that dozens of SMU inmates who suffer from a Mental Illness or

Serious Mental Illness are currently incarcerated at USP Lewisburg. See Compl. at

¶¶ 9, 165.    Moreover, “the number of class members will increase further”

throughout the course of litigation as the BOP’s policies and practices towards

mentally ill SMU inmates persist. See Stewart, 275 F.3d at 227.

                                        14
  Case 1:17-cv-01011-JPW-SES        Document 19      Filed 08/23/17   Page 21 of 36




      Additionally, joinder is impracticable because the putative class includes

future as well as present SMU inmates who suffer from a Mental Illness or Serious

Mental Illness. Due to the shifting prison population, future claimants cannot be

identified, and therefore cannot be joined, at this time. See, e.g., Lanning v. Se. Pa.

Transp. Auth., 176 F.R.D. 132, 148 (E.D. Pa. 1997) (“[W]here the class is based on

a common characteristic, here, gender, and where it does not strain credulity to

recognize that there will be more than a minuscule number of future members, the

joinder of future potential job applicants may be counted towards satisfaction of

the numerosity requirement.”). Due to the number of mentally ill SMU inmates

currently incarcerated at USP Lewisburg, the likelihood that additional mentally ill

SMU inmates will be incarcerated at USP Lewisburg in the future, and the

impossibility of joining those future arrivals, the proposed class satisfies Rule

23(a)(1).

             ii.    The constitutional challenges to USP Lewisburg’s policies
                    and practices present common questions of law and fact.
      “The commonality standard of Rule 23(a)(2) is not a high bar; it does not

require identical claims or facts among class members.” In re Chiang, 385 F.3d

256, 265 (3d Cir. 2004); see also Shelton, 775 F.3d at 564 (quoting Hassine, 846

F.3d at 177) (stating that commonality does not require that the representative

plaintiff “ha[s] endured precisely the same injuries that have been sustained by the

class members, only that the harm complained of be common to the class”).
                                          15
  Case 1:17-cv-01011-JPW-SES       Document 19     Filed 08/23/17   Page 22 of 36




Commonality is easily satisfied in civil rights challenges to government policies or

practices as the opposing party “has acted or refused to act on grounds that apply

generally to the class.” See Baby Neal, 43 F.3d at 57 (“Indeed, (b)(2) classes have

been certified in a legion of civil rights cases where commonality findings were

based primarily on the fact that defendant's conduct is central to the claims of all

class members irrespective of their individual circumstances and the disparate

effects of the conduct.”).

      Moreover, actions seeking an injunction against a common policy or practice

imposed on incarcerated inmates raise common questions in this Circuit. See, e.g.,

Hagan v. Rogers, 570 F.3d 146, 158 (3d Cir. 2009) (reversing district court’s

denial of class certification for a class for lack of commonality and typicality,

when plaintiff alleged common threat of injury to incarcerated population); Clarke

v. Lane, 267 F.R.D. 180, 196–97 (E.D. Pa. 2010) (holding the commonality

requirement was satisfied for a putative class of all current and future residents of

an institution challenging inadequate medical care despite numerous factual

differences); Inmates of the Northumberland Cty. Prison, 2009 U.S. Dist. LEXIS

126479, at *65 (holding that commonality was met for a class of pre-trial detainees

and convicted inmates as similarly situated plaintiffs were subjected to the same

policies, shared a common question of law and posited the same constitutional

argument challenging their conditions).

                                          16
    Case 1:17-cv-01011-JPW-SES      Document 19    Filed 08/23/17   Page 23 of 36




       Commonality is plainly established in this case.        The proposed class

members are all current or future SMU inmates incarcerated at USP Lewisburg

who suffer from a mental illness or serious mental illness. They are all subject to

the policies and practices implemented at that specific BOP facility, for individuals

similarly situated, by the same supervisory officials. The Complaint alleges that

class members are subject to the same threat of harm 2 as a result of Defendants’

policies, practices, and procedures, namely, the risk of increased psychological

and/or physical harm as a consequence of receiving constitutionally inadequate

mental health care.

       Furthermore, mentally ill SMU inmates at USP Lewisburg will continue to

suffer as a result of Defendants’ policies, practices, and procedures, and all class

members are subject to the threat of the unconstitutional conditions created as a

result. In particular, questions of fact or law common to the class include, but are

not limited to, the following:

             1.       Whether Defendants’ failure to maintain an adequate program
                      for appropriate mental health evaluations at USP Lewisburg
                      violates the constitutional requirement to provide adequate
                      mental health treatment to individuals with mental illness.




2
  As the Baby Neal court wrote, “class members can assert such a single common
complaint even if they have not all suffered actual injury; demonstrating that all
class members are subject to the same harm will suffice.” 43 F.3d at 56 (emphasis
in original).
                                       17
  Case 1:17-cv-01011-JPW-SES         Document 19     Filed 08/23/17   Page 24 of 36




               2.    Whether Defendants violate their own written policies and
                     procedures and the Constitution by placing individuals with
                     serious mental illness in the SMU at USP Lewisburg.
               3.    Whether Defendants violate their own written policies and the
                     Constitution by taking inappropriate disciplinary actions against
                     individuals with mental illness.

               4.    Whether Defendants violate their own written policies and the
                     Constitution by failing to maintain an adequate program to
                     diagnose and treat individuals with mental illness at USP
                     Lewisburg.

               5.    Whether class members are subject to harm as a result of
                     Defendants’ failure to provide adequate treatment for
                     individuals diagnosed with a mental illness, including a serious
                     mental illness.
               6.    Whether Defendants’ repeated violations of numerous mental
                     health policies have placed members of the class at risk for
                     increased psychological and/or physical harm.

These claims could be resolved on a class-wide basis if this Court enjoins

Defendants from continuing their policy, pattern, or practice of providing

inadequate care or treatment to SMU inmates incarcerated at USP Lewisburg who

are suffering from a mental illness or serious mental illness. Any one of these

factual or legal issues is sufficient to meet Rule 23(a)(2)’s commonality

requirement. See Wal-Mart Stores, 564 U.S. at 359 (stating that all that is required

is a single common question of law or fact that is of central importance to the

case).

         Any factual differences between Plaintiffs’ circumstances and those of the

rest of the class (such as the specific mental illness or serious mental illness from
                                          18
  Case 1:17-cv-01011-JPW-SES        Document 19     Filed 08/23/17   Page 25 of 36




which the inmate is suffering, the circumstances leading to their placement in the

SMU program, etc.) do not preclude a finding of commonality. Plaintiffs are

seeking injunctive relief with respect to policies and practices that all class

members must face by virtue of incarceration at USP Lewisburg. In such cases, as

the Third Circuit has noted, it is unlikely that differences in the factual background

of each claim will affect the outcome of the legal issue:

      This is especially true where plaintiffs request declaratory and
      injunctive relief against a defendant engaging in a common course of
      conduct toward them, and there is therefore no need for individualized
      determinations of the propriety of injunctive relief. Indeed, (b)(2)
      classes have been certified in a legion of civil rights cases where
      commonality findings were based primarily on the fact that
      defendant’s conduct is central to the claims of all class members
      irrespective of their individual circumstances and the disparate effects
      of the conduct.

Baby Neal, 43 F.3d at 57 (citation and emphasis omitted). In this case, all class

members are currently, or will in the future be, subject to Defendants’ policies or

practices regarding the care and treatment of mentally ill inmates. Any factual

differences among the class members cannot defeat certification.

             iii.   Plaintiffs’ claims are typical of the class.
      Plaintiffs’ claims are typical of the class they seek to represent because they

are caused by the same policies that give rise to the claims of other class members

and rely on the same legal theories. See Stewart, 275 F.3d at 227–28; Newton v.

Merrill Lynch, Pierce, Fenner & Smith, Inc., 259 F.3d 154, 183–84 (3d Cir. 2001);


                                         19
  Case 1:17-cv-01011-JPW-SES        Document 19      Filed 08/23/17   Page 26 of 36




Barnes v. Am. Tobacco Co., 161 F.3d 127, 141 (3d Cir. 1998). The typicality

requirement asks “whether the named plaintiffs’ claims are typical, in common-

sense terms, of the class, thus suggesting that the incentives of the plaintiffs are

aligned with those of the class.” Baby Neal, 43 F.3d at 55; see also Clarke v. Lane,

267 F.R.D. at 197 (quoting Beck v. Maximus, Inc., 457 F.3d 291, 295–96 (3d. Cir.

2006) (finding typicality met when all putative class members suffered

“constitutional violations under a uniform system”)). Typicality is established

when “the claims of the named plaintiffs and putative class members involve the

same conduct by the defendant . . . regardless of factual differences.” Newton, 259

F.3d at 183–84.

      A class representative’s claim need not be identical to the claims of the class

members to be typical. Johnston v. HBO Film Mgmt, Inc., 265 F.3d 178, 184 (3d

Cir. 2001). Any incidental factual differences among and between the Plaintiffs

and those of the class members will not render the claims atypical, because the

claims are based on the same legal theory. Clarke, 267 F.R.D. at 197 (citing Beck,

457 F.3d at 295–96). As the Third Circuit has noted, “even relatively pronounced

factual differences will generally not preclude a finding of typicality where there is

a strong similarity of legal theories.” Baby Neal, 43 F.3d at 58.

      Here, the injuries sustained by Plaintiffs arise from the same patterns,

practices, and policies to which the entire class is subjected. Central to their claims

                                          20
  Case 1:17-cv-01011-JPW-SES         Document 19     Filed 08/23/17    Page 27 of 36




are the systematic policies of failing to adequately screen (or screen at all)

prisoners designated to the SMU for mental illness; confining individuals with

mental illness in the SMU for conduct directly attributable to their mental illness;

operating a disciplinary system that does not consider a prisoner’s serious mental

illness and the impact of isolation in assessing whether to sanction the prisoner or,

if so, the nature of the sanction; failing to provide minimally adequate psychiatric

and psychological services to individuals diagnosed with mental illness in the

SMU program; refusing to consistently provide prescribed medications for

treatment of psychiatric conditions; maintaining conditions in the SMU that

exacerbate individuals’ serious mental illness, including near-constant isolation

with little, if any, human contact. See Compl. at ¶ 169. Because Plaintiffs’ claims

arise out of the same policies or practices that gives rise to the claims of other class

members, their claims are typical. Although the class members’ injuries may

differ, those injuries—or threats of injury—are all the direct and proximate result

of Defendants’ policies and practices and, therefore, are typical within the meaning

of Rule 23(a)(3).

             iv.    The Plaintiffs and their attorneys will fairly and adequately
                    protect the interests of the class.
      Plaintiffs and their counsel will fairly and adequately protect the interests of

the class. See Fed. R. Civ. P. 23(a)(4). “Adequacy of representation assures that

the named plaintiffs’ claims are not antagonistic to the class and that the attorneys
                                          21
  Case 1:17-cv-01011-JPW-SES        Document 19     Filed 08/23/17   Page 28 of 36




for the class representatives are experienced and qualified to prosecute the claims

on behalf of the entire class.” Baby Neal, 43 F.3d at 55. Plaintiffs meet both of

these factors because (1) there are no conflicts of interests between the Plaintiffs

and the unnamed class members; and (2) counsel for the proposed class are

experienced and well-qualified to handle the litigation.        See New Directions

Treatment Servs. v. City of Reading, 490 F.3d 293, 313 (3d Cir. 2007).

      As explained in the typicality section, Plaintiffs’ interests align with the

interests of the proposed class as a whole. Plaintiffs do not have any interests

antagonistic to other members of the putative class. First, no unique defenses

could be asserted against the Plaintiffs that would distract from the class claims or

defenses. See Williams v. City of Phila., 270 F.R.D. at 216–20 (finding that the

named plaintiffs “fairly and adequately protect the interests of the class” because,

in part, there are no “unique defenses that would consume a disproportionate

amount of time and attention”). Plaintiffs’ interests coincide with those of the

proposed class to seek a declaration that the policies, patterns, or practices alleged

in the Complaint are unconstitutional, as well as a permanent injunction

prohibiting Defendants from further implementing such patterns, practices, and

policies. See Inmates of the Northumberland Cty. Prison, 2009 U.S. Dist. LEXIS

126479, at *74–75 (“In fact, the interests of the remaining putative representatives

are perfectly aligned with those of the putative class; namely, they wish to rectify

                                         22
  Case 1:17-cv-01011-JPW-SES        Document 19     Filed 08/23/17   Page 29 of 36




the conditions at NCP so that current and future inmates are not subjected to

deprivations of their constitutional rights while institutionalized at NCP.”). The

granting of the relief sought by Plaintiffs would benefit the class members and

would not impair any future class member’s claims.

      Further, under Rule 23(a)(4) and Rule 23(g), counsel for Plaintiffs will

vigorously represent the class in this litigation. An order certifying a class action

must appoint class counsel under Rule 23(g). Fed. R. Civ. P. 23(c)(1)(B). In turn,

Rule 23(g) requires a court to consider the following non-exhaustive factors:

      (i)     the work counsel has done in identifying or investigating potential
              claims in the action;

      (ii)    counsel’s experience in handling class actions, other complex
              litigation, and the types of claims asserted in the action;
      (iii)   counsel’s knowledge of the applicable law; and

      (iv)    the resources that counsel will commit to representing the class.
Fed. R. Civ. P. 23(g)(1)(A)–(B).

      Counsel for Plaintiffs satisfies all of these factors. Plaintiffs’ attorneys are

qualified and experienced in conducting class actions, Section 1983 and prisoners’

rights litigation. Plaintiffs’ counsel includes lawyers from Latham & Watkins LLP

who possess extensive class action experience. See Exhibit A, Declaration of

Kevin H. Metz. Plaintiffs are also represented by the Pennsylvania Institutional

Law Project, a legal services organization which primarily represents inmates in

prisons and county jails throughout the Commonwealth of Pennsylvania in Section
                                          23
  Case 1:17-cv-01011-JPW-SES       Document 19      Filed 08/23/17    Page 30 of 36




1983 litigation and whose attorneys have significant experience in federal class

action litigation. See e.g., Richardson v. Director, Fed. Bureau of Prisons, 3:11-

cv-2266 (M.D. Pa) (Alexandra Morgan-Kurtz, class action challenging conditions

of confinement at USP Lewisburg), Hollihan v. Pa. Dep’t of Corrs., 3:15-cv-0005

(M.D. Pa) (Alexandra Morgan-Kurtz, class action challenging Pennsylvania

Department of Corrections’ (“DOC”) “one good eye” policy regarding cataract

surgery); Seitz v. Allegheny County, 2:16-cv-1879 (W.D. Pa) (Alexandra Morgan-

Kurtz, class action challenging solitary confinement of pregnant women at county

jail); Stradford v. Wetzel, 2:16-cv-2064 (E.D. Pa) (Alexandra Morgan-Kurtz, class

action regarding the DOC’s policy refusing to release paroled individuals with sex

offenses); see also Exhibit B, Declaration of Alexandra Morgan-Kurtz.

Additionally, Plaintiffs are represented by the Washington Lawyers Committee for

Civil Rights & Urban Affairs (“WLC”), a non-profit organization with extensive

experience in prisoners’ rights and class action litigation. See, e.g., Cunningham v.

Fed. Bureau of Prisons, Civ. No. 12-cv-01570-RDM (D. Colo.) (Philip

Fornaci/WLC, class action challenging conditions of confinement and failure to

provide mental health services to prisoners at ADX maximum security prison);

Daniel v. Fulwood, Civ. No. 1:10-cv-00862 (D.D.C.) (Philip Fornaci/WLC, class

action challenging improper retroactive application of parole guidelines to

prisoners);   Richardson    v.   Director,    3:11-cv-2266)   (M.D.     Pa.)   (Philip

                                         24
  Case 1:17-cv-01011-JPW-SES        Document 19     Filed 08/23/17   Page 31 of 36




Fornaci/WLC, class action as described above); Jarboe v. Md. Dep’t of Pub. Safety

& Corrs., No. 1:12-cv-00572-ELH (D. Md.) (WLC, class action challenging

mistreatment of and failure to accommodate deaf prisoners in Maryland); McBride

v. Mich. Dep’t of Corrs., No. 15-11222 (E.D. Mich.) (WLC, class action

challenging mistreatment of and failure to accommodate deaf prisoners in

Michigan); see also Exhibit C, Declaration of Philip Fornaci.

      Plaintiffs’ collective counsel is more than qualified to represent the class in

this case. They will assure the “vigorous prosecution of claims” demanded by

Rule 23.

      Plaintiffs’ proposed class thus meets the requirements of numerosity,

commonality, typicality, and adequacy of the class representative under Rule 23(a),

and this Court should grant Plaintiffs’ certification motion.

      C.     PLAINTIFFS’ CHALLENGE TO DEFENDANTS’ POLICY OR
             PRACTICE SATISFIES RULE 23(b)(2).
      In addition to meeting all of the requirements of Rule 23(a), Plaintiffs also

comply with Rule 23(b)(2). Like most class-action civil rights lawsuits, a class

action is appropriate here because Defendants have acted or refused “to act on

grounds that apply generally to the class, so that final injunctive relief or

corresponding declaratory relief is appropriate respecting the class as a whole.”

Fed. R. Civ. P. 23(b)(2).



                                         25
  Case 1:17-cv-01011-JPW-SES        Document 19     Filed 08/23/17   Page 32 of 36




      Plaintiffs’ claims, which seek declaratory or injunctive relief, satisfy the

requirements of Rule 23(b)(2) because they seek to define the appropriate

“relationship between the defendant(s) and the world at large” rather than to

benefit the individual plaintiffs. Baby Neal, 43 F.3d at 58–59 (quoting Weiss, 745

F.2d at 811). Accordingly, Rule 23(b)(2) “is almost automatically satisfied.” Id.

Indeed, Rule 23(b)(2) was “designed specifically for civil rights cases seeking

declaratory or injunctive relief for a numerous and often unascertainable or

amorphous class of persons.” Id.; see also Shelton, 775 F.3d at 562 (noting that the

Advisory Committee note to Rule 23 states that “illustrative” examples of a (b)(2)

class are “various actions in the civil-rights field where a party is charged with

discriminating unlawfully against a class, usually one whose members are

incapable of specific enumeration.” (quoting Fed. R. Civ. P. 23 Advisory

Committee’s note (1966)) (emphasis in Shelton)). As the Supreme Court has

explained, the key to the (b)(2) class is “the indivisible nature of the injunctive or

declaratory remedy warranted—the notion that the conduct is such that it can be

enjoined or declared unlawful only as to all of the class members or as to none of

them.” Wal-Mart Stores, 564 U.S. at 360 (citation omitted). Here, Plaintiffs’

claims are so inherently intertwined with that of the class as a result of Defendants’

common policies and practices that injunctive and declaratory relief as to any

would be injunctive and declaratory relief as to all. See Clarke, 267 F.R.D. at 198.

                                         26
    Case 1:17-cv-01011-JPW-SES       Document 19   Filed 08/23/17   Page 33 of 36




       Rule 23(b)(2) is “met even if the action or inaction ‘has taken effect or is

threatened only as to one or a few members of the class, provided it is based on

grounds which have general application to the class.’” Santiago, 72 F.R.D. at 626

(quoting Advisory Committee’s Notes to Proposed Rules of Civil Procedure, 39

F.R.D. 69, 102 (1966)). In circumstances similar to those here, where the claim is

premised on a class suffering from constitutional injuries due to the

implementation of policies and practices applied to all detainees, courts have found

Rule 23(b)(2) satisfied. See, e.g., Death Row Prisoners of Pa. v. Ridge, 169 F.R.D.

618, 623 (E.D. Pa. 1996) (certifying a Rule 23(b)(2) class of death row inmates);

Santiago, 72 F.R.D. at 625–26 (certifying Rule 23(b)(2) class of juveniles

challenging the conditions of confinement at youth study center). As a result,

Plaintiffs’ claims meet the requirements of Rule 23(b)(2), and this Court should

grant their motion for class certification.

IV.    CONCLUSION
       For the foregoing reasons, Plaintiffs respectfully request that this Court

certify the class proposed in this Motion and appoint their counsel as class

counsel. 3




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  If this Court determines that a fuller record is needed to rule on the motion,
Plaintiffs respectfully request precertification discovery.
                                           27
  Case 1:17-cv-01011-JPW-SES   Document 19   Filed 08/23/17   Page 34 of 36




DATED: August 23, 2017           Respectfully submitted,

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                                   28
  Case 1:17-cv-01011-JPW-SES    Document 19    Filed 08/23/17   Page 35 of 36




                         CERTIFICATE OF SERVICE
      Undersigned counsel for Plaintiffs Jusamuel Rodriguez McCreary, Richard

C. Anamanya, and Joseph R. Coppola advises this Honorable Court that counsel

for Defendants have not been identified. This Brief in Support of Plaintiffs’

Motion for Class Certification will be served upon each Defendant once their

counsel have been identified.


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                                     29
  Case 1:17-cv-01011-JPW-SES       Document 19     Filed 08/23/17   Page 36 of 36




     CERTIFICATE OF COMPLIANCE WITH WORD COUNT LIMIT
      Pursuant to Local Rule 7.8(b)(2), I hereby certify that the foregoing Brief in

Support of Plaintiffs’ Motion for Class Certification does not exceed 6,500 words

and therefore is in compliance with the Order signed by Magistrate Judge Susan E.

Schwab on August 21, 2017.

      The brief, exclusive of cover page, Table of Contents, Table of Authorities,

signature block, and accompanying certificates, contains 6,430 words.


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                                        30
